     Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 1 of 21 PageID #: 5
                                                                                1611-AC07161

                                     IN THE CIRCUIT COURT
                                    SAINT CHARLES COUNTY
                                       STATE OF MISSOURI
                                      ASSOCIATE DIVISION

JAMES STEWARD,

                Plaintiff,
                                                              Cause No.
V.

                                                              Division
COMMERCE BANK,

Serve at:
1000 WALNUT STREET
KANSAS CITY, MO 64106

                Defendant.                                    JURY TRIAL DEMANDED

                                            PETITION

         COMES NOW, Plaintiff, James Steward, and for his Petition states as follows:

                                        INTRODUCTION

         I .    This is an action for statutory damages brought by an individual consumer for

violations ofthe Telephone Consumer Protection Act of I991("TCPA"), 47 USC 227          et. Seq.



         2.     This is an action for actual and punitive damages brought by an individual

consumer for invasion of privacy.

         3.     Plaintiffdemands a trial byjury on all issues so triable.

                                         JURISDICTION

         4.     This Court has jurisdiction ofthe TCPA claim under 47 U.S.C. 227 (3)(b).

Venue is appropriate in this Court because Defendant Commerce Bank ("Commerce") placed

prohibited telephone calls to Plaintiffat Plaintiff's phone located in St. Charles County, Missouri.

         5.     This Court hasjurisdiction ofthe claim ofinvasion ofprivacy because the

conduct giving rise to the claim occurred in St. Charles County, Missouri.



                                                                                              Exhibit
                                                                                                A
  Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 2 of 21 PageID #: 6                          nl
                                                                                                         CD
                                                                                                         C-,



                                                                                                         o
                                                                                                         C)
                                                                                                         D)

                                                                                                        '-'z


                                                                                                         -n

                                                PARTIES                                                  CD
                                                                                                         o-

                                                                                                         (J)

       6.      Plaintiff is a natural person currently residing in St. Charles County, Missouri.         C-)

                                                                                                         D)


       7.      Defendant Commerce Bank is a corporation whose primary corporate address is               CD
                                                                                                         (n

                                                                                                         C-)

                                                                                                         C)
1000 Walnut Street, Kansas City, MO 64106. Defendant is a corporation and a "person" as
                                                                                                         C
                                                                                                         'z
defined by 47 U.S.C. 153(10).
                                                                                                         O
                                                                                                         CD
                                                                                                         C)
                                 Telephone Consumer Protection Act                                       CD

                                                                                                         B
                                                                                                         o-
                                                                                                         CD

       8.      At all times relevant to this complaint, the Plaintiff was and is a "person" as           Q
                                                                                                         "J
defined by the TCPA 47 U.S.C. I 53(3 9).                                                                 Q
                                                                                                         O)


       9.      At all times relevant to this complaint, Defendant has owned, operated, and or
                                                                                                         (J


controlled "customer premises equipment" as defined by the TCPA 47 U.S.C. 153(16) that

originated, routed, and/or terminated telecommunications.

       10.     Defendant    at    all   times    relevant    to   the   complaint herein engages   in

"telecommunications" as defined by the TCPA 47 U.S.C. I 53(50).

       I I .   Defendant at all times relevant to the complaint herein engages in "interstate

communications" as defined by the TCPA 47 U.S.C. I 53(28).

       12.     At all times relevant to this complaint, Defendant has used, controlled, and/or

operated "wire communications" as defined by the TCPA 47 U.S.C. 153(59), that existed as

instrumentalities ofinterstate and intrastate commerce.

       13.     At all times relevant to this complaint, Defendant has used, controlled, and/or

operated "automatic telephone dialing systems" as defined by the TCPA 47 U.S.C. 227(a)(1)

and 47 C.F.R. 64.1200(f)(2).

                                                Invasion   of Privacy

       14.     The Federal Communications Commission recognized the costs and damage to a
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consumer's right to privacy that automated and pre-recorded calls created:

                       Noting that Congress found that automated or prerecorded telephone calls
                       were a greater nuisance and invasion ofprivacy than live solicitation calls,
                       and that such calls can be costly and inconvenient, the Commission
                       determined that the TCPA and its rules prohibit such calls to wireless
                       numbers. The Commission also recognized that wireless customers are
                       charged for incoming calls whether they pay in advance or after the
                       minutes are used.


In the Malter of Rules and Regulations Implementing the Telephone Consumer Protection Act of

1991, 23 FCC Rcd 559, 7 (Jan. 4, 2008).

                                              FACTS

        I 5.   Within four years immediately preceding the filing ofthis lawsuit, Defendant
                                                                                                      >
telephoned the Plaintiff's cellular phone using an automatic telephone dialing system on

numerous occasions and left artificial or pre-recorded messages on the Plaintiff's answering

service in violation ofthe TCPA.

        I 6.   Plaintiff never gave his express written consent to be called on his cellular

telephone by automatic dialed telephone calls or prerecorded messages.

        I 7.   Plaintiff never signed any writing containing a clear and conspicuous disclosure,

as required under47 C.F.R. 64.1200(f)(8)(i), informing the Plaintiffthat by executing an

agreement, Plaintiffconsents to receive phone calls delivered using an automatic telephone

dialing system or an artificial or prerecorded voice.

        18.    Defendant's phone calls came from its number 816-234-2000.

        I 9.   Defendant knows the TCPA's prohibitions against using an autodialer and pre-

recorded messages to call cell phones, and it has been sued numerous times for such violations,

and has continued to make unauthorized and prohibited phone calls despite this knowledge.

       20.     On September 8, 2016, Plaintiffcalled Defendant and explicitly revoked any
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permission or consent Defendant may have ever had to call his cellular telephone number (314)

363-3553, and instructed Defendant to never call his cellular telephone ever again, and instructed

Defendant to only contact his attorney, providing his attorney's information.

                                       Violations of the TCPA

       21.      Defendant never obtained express written consent from Plaintiff, pursuant to 47

U.S.C. 227 (b)(1)(A), to place telephone calls to Plaintiff's cellular phone using an automatic

telephone dialing system or to send pre-recorded messages to Plaintiff's cellular phone, (314)

363-3553.

        22.     Plaintiffreceived numerous such illicit non-emergency pre-recorded and/or

synthesized phone calls or voice messages from Defendant's automatic telephone dialing system

dating, and he was charged for these phone calls, in violation of47 U.S.C. 227(b)(1)(A)(iii).

        23.     Defendant's phone calls for Plaintiffwere placed from Defendants' automatic

telephone dialing system, as defined by 47 U.S.C. 227(a)(l ), from the phone number that is

registered to the Defendant.

        24.     Specifically, Defendant's dialing system has the capacity to store, dial, and

generate phone numbers such as Plaintiff's.

                               Invasion ofPrivacy - Intrusion Upon Seclusion

        25.     Defendant intentionally and/or negligently interfered, physically or otherwise,

with the solitude, seclusion and or private concerns or affairs ofthis Plaintiffby repeatedly and

unlawfully attempting to collect a debt from Plaintiffby calling Plaintiff's cellular telephone

without consent by Plaintiff, and thereby invaded Plaintiff's right to privacy.

        26.     Plaintiffhad a reasonable expectation ofprivacy in Plaintiff's solitude, seclusion,

private concerns or affairs.
 Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 5 of 21 PageID #: 9




       27.      The conduct of Defendant in engaging in the above-described illegal

telecommunications conduct against Plaintiff, resulted in multiple intrusions and invasions of

privacy by Defendant that occurred in a way that would be highly offensive to a reasonable

person in that position.

       28.      As a result ofsuch intrusions and invasions ofprivacy, Plaintiffis entitled to

actual damages and punitive damages from Defendant in an amount to be determined at trial.

                            COUNT I: VIOLATION OF THE TCPA

       29.      Plaintiffre-alleges and incorporates by reference all prior paragraphs.

       30.      Defendant has a policy, practice or procedure ofplacing automated and pre-

recorded calls to cell phones without the prior consent ofthe called parties.

       31   .   In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations ofthe TCPA, 47 USC 227 et. seq., including, but not limited to, the following:

                a.     Placing non-emergency phone calls to Plaintiffs cellular phone without

                express authorized consent ofthe Plaintiff. 47 USC 227(b) (1) (A)(iii).

       32.      Defendant's violations were negligent, or alternatively, they were willful or

knowing, in violation of47 U.S.C. 312(0(1).

WHEREFORE, Plaintiffrespectfully requests thatjudgment be entered against Defendants for:

       A. Judgment that Defendants' conduct violated the TCPA;

       B. Actual damages;

       C. Statutory damages pursuant to 47 USC (b)(3); and

       D. For such other reliefas the Court may deemjust and proper.

         COUNT II: INVASION OF PRIVACY - INTRUSION UPON SECLUSION

       33.      Plaintiffre-alleges and incorporates by reference all prior paragraphs.
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       34.     The aforementioned intrusion upon seclusion by Defendant was highly offensive

to a reasonable person.

WHEREFORE, Plaintiffs respectfully request that judgment be entered against Defendant for:

       A.      Actual damages;

       B.      Punitive damages;

       C.      Court costs;

       D.      For such other relief as the Court may deem just and proper.
                                                                                                        NJ
                                                                                                        Q
                                                                                                        o)
                                                      Respectfully submitted by,

                                                      Pontello Law, LLC

                                                      /5/   Dominic M. Pontello

                                                      Dominic M. Pontello, #60947
                                                      Attorney for Plaintiff
                                                      5988 Mid Rivers Mall Dr., Suite 114
                                                      St. Charles, MO 63304
                                                      (636) 541-7673
                                                      (636) 441-6881 facsimile
                                                      dominic@pontellolaw.com

                          DOCUMENT PRESERVATION DEMAND

       Plaintiff hereby demands that the Defendant take affirmative steps to preserve all
recordings, data, databases, call records, consent to receive autodialed or prerecorded calls,
emails, recordings, documents and all other tangible things that relate to the allegations herein, to
the Plaintiff, or the making of telephone calls, the events described herein, any third party
associated with any telephone call, campaign, account, sale or file associated with Plaintiff, and
any account or number or symbol relating to any of them. These materials are very likely
relevant to the litigation of this claim. If Defendant is aware of any third party that has
possession, custody, or control of any such materials, Plaintiff demands that the Defendant
request that such third party also take steps to preserve the materials. This demand shall not
narrow the scope ofany independent document preservation duties ofthe Defendant.

                                                      /5/   Dominic M. Pontello
 Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 7 of 21 PageID #: 11
                                                                              1611-AC07161

           IN THE CIRCUIT COURT OF SAINT CHARLES COUNTY
                          STATE OF MISSOURI
                         ASSOCIATE DIVISION
JAMES STEWARD                         )
                                                    )

               Plaintiff,                           )
y.                                                  ) Cause No.
                                                    )

COMMERCE BANK                                       ) Division
                                                    )

               Defendant.                           ) JURY TRIAL DEMANDED

                 REQUEST FOR APPOINTMENT OF PROCESS SERVER

        COMES NOW, undersigned counsel, pursuant to Local Rules, and at his own risk           D
                                                                                               O)


requests the appointment of the Circuit Clerk of:
                                                                                               (J


                                     MICHAEL SIEGEL                                            >
                                KANSAS CITY PROCESS SERVICE
                                          P.O. BOX 717
                                      SMITHVILLE, MO 64089
                                          816-217-3329

        Natural persons of lawful age to serve the summons and petition in this cause on the

below named parties. This appointment as special process server does not include the

authorization to carry a concealed weapon in the performance thereof.

SERVE AT:
I 000 WALNUT STREET
KANSAS CITY, MO 64106
                                                     Pontello Law, LLC
                                                       Is/ Dominic M. Pontello
All Risks to Plaintiff                               Dominic M. Pontello, #60947
So Appointed:                                        Attorney for Plaintiff
                                                     5988 Mid Rivers Mall Dr., Suite 1 14
Date:                                                St. Charles, MO 63304
                                                     (636) 541-7673
                                                     (636) 441-6881 facsimile
                Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 8 of 21 PageID #: 12


                   IN THE 11TH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI
           €)

 Judge or Division:                                                     Case Number: 161 1-AC07161
 NORMAN C STEIMEL Ill
 Plainti ff/Petitioner:                                                 Plaintiff's/Petitioner's Attorney/Address:
 JAMES STEWARD                                                          DOMINIC M PONTELLO
                                                                        PONTELLO LAW LLC
                                                                        5988 MID RIVERS MALL DR
                                                                        SUITE I 14
                                                                        SAINT CHARLES, MO 63304
                                                                 vs.    (636) 541-7673
 Defendant/Respondent:                                                  Date, Time and Location ofCourt Appearance:
 COMMERCE BANK                                                          24-JAN-2017, 09:00 AM
 Nature ofSuit:                                                         DIVISION 10 COURTROOM
 AC Other Tort                                                          300 N 2nd STREET
                                                                        SAINT CHARLES, MO 63301                                            (Date File Stamp)
                                                            Associate Division Summons
   The State ofMissouri to: COMMERCE BANK
                                    Alias:
 1000 \VALNUT
 KANSAS CITY, MO 64106
                                       You are summoned to appear before this court on the date, time, and location above to answer the attached petition.
         COURTSEAL OF             Ifyou fail to do so, judgment by default will be taken against you for the reliefdemanded in the petition. You may be
                RT
                                  permitted to file certain responsive pleadings, pursuantto Chapter 517 RSMo. Should you have any questions regarding
                                  responsive pleadings in this case, you should consult an attorney.
          (';%-4
                                       lfyou have a disability requiring special assistance for your court appearance, please contact the court at least 48
                                  hours in advance ofscheduled hearing.
                                                    -2/12/2016                           _________________IS! Judy Zerr_________________
  ST. CHARLES COUNTY                                      Date                                                        Clerk
                                  Further Information:
                                                                       Sheriff's or Server's Return
   Note to serving officer: Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
                               appear in court.
     I certify that I have served the above summons by: (check one)
     D    delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
     E    leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthe Defendant/Respondent with
                                                                   a person ofthe Defendant'slRespondent's family over the age of 15 years.
     n    (for service on a corporation) delivering a copy ofthe summons and a copy ofthe petition to
                                                                                        (name ) ____________________________________________________ (title).
     E     other
    Served at                                                                                                                                        (address)
    in                                           (County/City ofSt. Louis), MO, on                                 (date) at                          (time).


                      l'rinted Name ofSheril•'or Server                                                          Signature ofSheriffor Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on                                                        (date).
             (Seal)
                                    My commission expires:
                                                                                 Date                                          Notaiy Public
     Sheriff's Fees, if applicable
     Summons                          s__________________
     Non Est                          s_________________
     Sheriff's Deputy Salary
     Supplemental Surcharge           5      10.00
     Mileage                          s___________________ (_______ miles J 5.                 per mile)
     Total                            S__________________
     A copy ofthe sumn,ons and a copy ofthe petition must be served on each Defendant/Respondent. For methods ofservice on all classes of suits,
     see Supreme Court Rule 54.




OSCA (7-09) 5M20 (ADSM) ForCowi Use Only: Document ID# 16-ADSM-5969                             I                                                     517.041 RSMo
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STATE OF MISSOURI                               )
                                                )   SS.

ST. CHARLES COUNTY, MISSOURI                    )


             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI



            NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


        Pursuant to Missouri Supreme Court Rule 17, the Circuit Court of St. Charles County,
Missouri (Eleventh Judicial Circuit) has adopted a local rule to encourage voluntary alternative
dispute resolution. The purpose of the rule and the program it establishes is to foster timely,
economical, fair and voluntary settlements of lawsuits without delaying or interfering with a
party's right to resolve a lawsuit by trial.

         This program applies to all civil actions other than cases in the small claims, probate and
family court divisions of the Circuit Court, and you are hereby notified that it is available to you
in this case.

        The program encourages the voluntary early resolution of disputes through mediation.
Mediation is an informal non-binding alternative dispute resolution process in which a trained
mediator facilitates discussions and negotiations among the parties to help them resolve their
dispute. The mediator is impartial and has no authority to render a decision or impose a
resolution on the parties. During the course of the mediation, the mediator may meet with the
parties together and separately to discuss the dispute, to explore the parties' interests, and to
stimulate ideas for resolution of the dispute.

        A list of mediators approved by the court and information regarding their qualifications is
kept by the Circuit Clerk's Office. If all parties to the suit agree to mediation, within ten days
after they have filed the Consent to Mediation Form on the reverse side of this page with the
Clerk of the Court, they shall jointly select from that list a mediator who is willing and available
to serve. If the parties cannot agree upon the mediator to be selected, the Court will make the
selection.

        The full text of the Circuit Court's local court rules, including Rule 38 Alternative
Dispute Resolution, is available from the Clerk of the Circuit Court or at:
http://www.courts.mo.gov/hosted/circuit I i /Documents/LOCAL COURT RULES .pdf

         A copy of this Notice is to be provided by the Clerk of the Circuit Court to each of the
parties initiating the suit at the time it is filed, and a copy is to be served on each other party in
the suit with the summons and petition served on that party.
Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 10 of 21 PageID #: 14




STATE OF MISSOURI                              )
                                               )   SS.

ST. CHARLES COUNTY, MISSOURI                   )


             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI


                               Plaintiff(s),

vs.                                                             Cause #


                               Defendant(s).


                             CONSENT TO MEDIATION FORM


         I, the undersigned counsel of record in this case, hereby certify that I have discussed the
subject of mediation under the Court's Alternative Dispute Resolution Program with my client(s)
in this case and that:

        We believe that mediation would be helpful in this case and consent to the referral of the
        case to mediation upon the filing of similar consents by all other parties in the case.

        We do not consent to the referral of this case to mediation.



                                                         Signature


                                                         (Print Name)

                                                         Attorney for:


                                                         (Party or Parties)

Date:
Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 11 of 21 PageID #: 15
                                                                              1611-AC07161

           IN THE CIRCUIT COURT OF SAINT CHARLES COUNTY
                          STATE OF MISSOURI
                         ASSOCIATE DIVISION
JAMES STEWARD                         )
                                                     )

               Plaintiff,                            )
V.                                                   ) Cause No.
                                                     )

COMMERCE BANK                                        ) Division
                                                     )

               Defendant.                            ) JURY TRIAL DEMANDED

                 REQUEST FOR APPOINTMENT OF PROCESS SERVER
                                                                                              M
       COMES NOW, undersigned counsel, pursuant to Local Rules, and at his own risk
                                                                                              C)


requests the appointment of the Circuit Clerk of:
                                                                                              (,.)




                                      MICHAEL SIEGEL                                          >
                                 KANSAS CITY PROCESS SERVICE
                                              P.O. BOX 717
                                          SMITHVILLE, MO 64089
                                            816-217-3329

       Natural persons of lawful age to serve the summons and petition in this cause on the

below named parties. This appointment as special process server does not include the

authorization to carry a concealed weapon in the performance thereof.

SERVE AT:
I 000 WALNUT STREET
KANSAS CITY, MO 64106
                                                     Pontello Law, LLC
                                                       Is/ Dominic M. Pontello
All Risks to Plaintiff                               Dominic M. Pontello, #60947
So Appointed:                                        Attorney for Plaintiff
                                                     5988 Mid Rivers Mall Dr., Suite I 14
Date: ALL RISKS TO PLAINTIFF                         St. Charles, MO 63304
       SO APPOINTED:                                 (636) 541-7673
By:   IS! JUDY ZERR 2:16pm Dec 12, 2016              (636) 441-6881 facsimile
      Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 12 of 21 PageID #: 16


                                IN THE ELEVENTH JUDICIAL CIRCUIT
                                 SAINT CHARLES COUNTY, MISSOURI                         FILED
                                     ASSOCIATE CIVIL DIVISION
                                                                                         JAN 24 2017

                                                                                             JUDY 2SR
               5Anc            Th-'4iP                                                       agaaEK
                                                                                         sro1ARL
PLAINTIFF
                                                                 CAUSE NO.          (    // -4     -    c'7 /6 (
      vs

              C1n,L                                              DWISION:
DEFENDANT

                                             MEMORANDUM/ ORDER
           COMES NOW                                                    AND ENTERS THEIR APPEARANCE
           AS AI1'ORNEY FOR___________________________________
                                                       i
           CASE CONTINUED TO

             BY       PLAINTI
                                             /-i   /               AT           &')
                                                                         D CONSENT
                                                                                               i/PM.
             FOR                                   CALL DOC ET           D SE11'ING OR DISPOSITION

  D        COMES NOW THE (PLAINTIFF/DEFENDANT) AND REQUESTS A CHANGE OF JUDGE.
           MOTION IS (GRANTED/DENIED). IF MOTION IS GRANTED, THE CAUSE IS ASSIGNED TO
           DIVISION _____AND SET FOR (TRIAL/ANNOUNCEMENT) ON

  D        COMES NOW (PLAINTIFF/DEFENDANT) AND REQUESTS A TRIAL BY JURY.


  D        CASE DISMISSED WITH/WITHOUT PREJUDICE AT PLAINTIFFS COSTS.

  D        CASE CALLED. PARTIES FAIL TO APPEAR. CASE DISMISSED WITH/WITHOUT
           PREJUDICE FOR FAILURE TO PROSECUTE/LACK OF SERVICE AT PLAINTIFFS COSTS.

  D        OTHER:




           --
  PAINTIFF/PLAETf?F'S ATTORNEY       BAR #    '                  DEFENDMT/DEFENDANT's ATI'ORNEY         BAR #


  AthRESS, CITY STATE & ZW                                       ADDRESS, CITY STATE & ZIP


  PHONE NUMBER                                                   PHONE NUMBER

  SO ORDERED:

                                                                 DATE:
  JUDGE                      BAR #
                 Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 13 of 21 PageID #: 17


                     IN THE 11TH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI

 Judge or Division:                                                          Case Number: 1611-AC07161
 NORMAN C STEIMEL III
 Plaintiff/Petitioner:                                                       Plaintiff's/Petitioner's Attorney/Address:
 JAMES STEWARD                                                               DOMINIC M PONTELLO
                                                                             PONTELLO LAW LLC
                                                                             5988 MID RIVERS MALL DR
                                                                             SUITE I 14
                                                                             SAINT CHARLES, MO 63304
                                                                      vs.    (636) 541-7673
 Defendant/Respondent:                                                       Date, Time and Location ofCourt Appearance:
 COMMERCE BANK                                                               24-JAN-2017, 09:00 AM
 Nature ofSuit:                                                              DIVISION 10 COURTROOM
 AC Other Tort                                                               300 N 2nd STREET
                                                                             SAINT CHARLES, MO 63301                                                            (Date File Stamp)
                                                                 Associate Division Summons                                                                                                  Q
                                                                                                                                                                                             1'..)




   The State ofMissouri to: COMMERCE BANK                                                                                                                                                    -.4


                                           Alias:
 1000 WALNUT
 KANSAS CITY, MO 64106
                                                                                                                                                                                             b
                                                                                                                                                                                             -.4

                                             You are summoned to appear before this court on the date, time, and location above to answer the attached petition.
         COURTSE IL OF
                                        lfyou fail to do so,judgment by default will be taken against you forthe reliefdemanded in the petition. You may be
                                        permitted to file certain responsive pleadings, pursuant to Chapter 5 1 7 RSMo. Should you have any questions regarding
                                        responsive pleadings in this case, you should consult an attorney.
          i/   'I                            lfyou have a disability requiring special assistance for your court appearance, please contact the court at least 48
     \K;:
      N._:::_.
                                        hours in advance ofscheduled hearing.
                                                           I 2/I 2/20 1 6                        __________________/SI Judy Zerr__________________
  ST. ChARLES COUNTY                                          Date                                                                      Clerk
                                        Further Infonnation:
                                                                            Sheriff's or Server's Return
   Note to serving officer: Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
                              appear in court.
    I certify that I have served the above summons by: (check one)
     E    delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
     E    leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthe Defendant/Respondent with
                                                                   a person ofthe Defendant's/Respondent's family over the age of 15 years.
     D    (for service on a corporation) delivering a copy ofthe summons and a copy ofthe petition to
               __________________________________________________________________________________ (name   ) ______________________________________________________________________(title).
     IJ other              SUMMMONS WITHDRAWN
    Served at                                                                                                                                                                (address)
    in                                                  (County/City ofSt. Louis), MO, on                                            (date) at                               (time).


                           Printed Naine ofSheriffor Server                                                                       Signature ofSherillor Server
                                           Must be sworn before a notary public if not served by an authorized officer:
                                           Subscribed and sworn to before me on                                                                     (date).
                 (Seal)
                                           My commission expires:
                                                                                         Date                                                      Notary Public
     Sheriffs Fees, if applicable
     Summons                                S_________________
     Non Est                                S_________________
     Sheriff's Deputy Salary
     Supplemental Surcharge                 S _ I 0.00
     Mileage                                S___________________ (_______ miles @ S._______ per mile)
     Total                      S__________________
     A copy ofthe summons and a copy ofthe petition must be served on each Defendant/Respondent. For methods ofservice on all classes of suits,
     see Supreme Court Rule 54.




OSCA (7-09) SM2O (ADSM) For C'orni Use O,zIy: Document ID# 16-ADSM-5969                                     I                                                                517.041 RSMo
Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 14 of 21 PageID #: 18




                                  IN THE CIRCUIT COURT
                                 SAINT CHARLES COUNTY
                                    STATE OF MISSOURI
                                   ASSOCIATE DIVISION

JAMES STEWARD,                                     )
                                                   )

              Plaintiff,                           )
                                                   ) Cause No. 1611-AC07161
y.                                                 )
                                                   ) Division 12
COMMERCE BANK                                      )
                                                                                                  N)
                                                                                                  Q
                            REOUEST FOR ALIAS SUMMONS

        COMES NOW, undersigned counsel, pursuant to Local Rules, and hereby requests that         Q
                                                                                                  (r,



an alias summons be issued by the circuit clerk in this case, because the first summons expired

before service. I am requesting an alias summons be issued for the following defendant:

        (I) COMMERCE BANK.

                                                   Respectfully submitted by,

                                                   PONTELLO & BRESSLER

Date:      3/21/2017                               _/s/ Dominic M. Pontello
                                                   Dominic M. Pontello, #60947
                                                   Attorney for Plaintiff
                                                   406 Boones Lick Rd
                                                   St. Charles, Missouri 63301
                                                   (636) 896-4170
                                                   (636) 246-0141 facsimile
                                                   dominic@pontellolaw.com
Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 15 of 21 PageID #: 19




                  IN THE CIRCUIT COURT OF SAINT CHARLES COUNTY
                                 STATE OF MISSOURI
                                ASSOCIATE DIVISION

JAMES STEWARD                                       )

                                                    )

               Plaintiff,                           )

V.                                                  ) Cause No.
                                                    )

COMMERCE BANK                                       ) Division
                                                    )

               Defendant.                           ) JURY TRIAL DEMANDED
                                                                                              N)
                                                                                              C
                 REQUEST FOR APPOINTMENT OF PROCESS SERVER

        COMES NOW, undersigned counsel, pursuant to Local Rules, and at his own risk          D
                                                                                              (O


requests the appointment of the Circuit Clerk of:

                                     MICHAEL SIEGEL
                                KANSAS CITY PROCESS SERVICE
                                        P.O. BOX 717
                                   SMITHVILLE, MO 64089
                                          816-217-3329

        Natural persons oflawful age to serve the summons and petition in this cause on the

below named parties. This appointment as special process server does not include the

authorization to carry a concealed weapon in the performance thereof.

SERVE AT:
I 000 WALNUT STREET
KANSAS CITY, MO 64106
                                                    PONTELLO & BRESSLER
                                                    _____/s/ Dominic M. Pontello
All Risks to Plaintiff                              Dominic M. Pontello, #60947
So Appointed:                                       Attorney for Plaintiff
                                                    406 Boones Lick Rd
Date:                                               St. Charles, MO 63301
                                                    (636) 896-4170
                                                    (636) 246-0141 facsimile
          Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 16 of 21 PageID #: 20
                                                                  1Nd 2..?

                                       IN THE ELEVENTH JUDICIAL CIRCUIT
                                        SAINT CHARLES COUNTY, MISSOURI                                      D
                                            ASSOCIATE CIVIL DIVISION                           MAR 212017
                                                                                                  JUDYZERR
                   ,tljS    747j                                                                 QRCU1TCLERI(
                                                                                              ST CHARLES COUNTY
PLAINTIFF
                                                                      CAUSE NO.        J' 1/-       ,4
          vs
                 ()rn1U        frV1(                                  DIVISION:           I    -   't-'
DEFENDANT

                                                 MEMORANDUM! ORDER

  D            COMES NOW                                                    AND ENTERS THEIR APPEARANCE
               ASATrORNEYFOR

      1        CASE CONTINUED TO                 /2 J   L   I          AT          I '. O“                s/PM.
                 BY        PLAINTIFF             D DEFENDANT                 D CONSENT
                 FOR O TRIAL                       CALL DOCKET               D SETNNG OR DISPOSITION

  D            COMES NOW THE (PLAINTIFF/DEFENDANT) AND REQUESTS A CHANGE OF JUDGE.
               MOTION IS (GRANTED/DENIED). IF MOTION IS GRANTED, THE CAUSE IS ASSIGNED TO
               DIVISION _____AND SET FOR (TRIAL/ANNOUNCEMENT) ON

  D            COMES NOW (PLAINTIFF/DEFENDANT) AND REQUESTS A TRIAL BY JURY.


  n            CASE DISMISSED WITH/WITHOUT PREJUDICE AT PLAINTIFFS COSTS.

  El           CASE CALLED. PARTIES FAIL TO APPEAR. CASE DISMISSED WITH/WITHOUT
               PREJUDICE FOR FAILURE TO PROSECUTE/LACK OF SERVICE AT PLAINTIFFS COSTS.


  )            OTHER:        L/1?                           12jtLiT




      '-           ;46z
  PLAINTIFF/PLAINTIFF'S ATTORNFX


  ADDRESS, CITY STATE & ZIP
                                          61 7
                                         BAR #                        DEFBNDANT/DEFENEJANT'S ATTORNEY


                                                                      ADDRE,SS, CITY STATE & ZIP
                                                                                                              BAR #




  PHONE NUMBER                                                        PHONE NUMBER

  SO ORDERED:

  __________________________                                          DATE:
  JUDGE                       BAR #
             Case: 4:17-cv-01397-HEA Doc. #: 1-1 Filed: 04/28/17 Page: 17 of 21 PageID #: 21


                IN THE 11TH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                                Case Number: I 6 1 1-ACO7I 61
MATTHEW E P THORNHILL
Plaintiff/Petitioner:                                             Plaintiff/Petitioner's Attorney/Address:
JAMES STEWARD                                                     DOMINIC M PONTELLO
                                                                  PONTELLO & BRESSLER
                                                                  406 BOONES LICK RD
                                                                  SAINT CHARLES, MO 63301
                                                            vs.   (636) 896-4170
Defendant/Respondent:                                             Date, Time and Location ofCourt Appearance:
COMMERCE BANK                                                     02-MAY-2017, 09:00 AM
Nature ofSuit:                                                    DIVISION 12 COURTROOM
AC Other Tort                                                     300 N 2nd STREET
                                                                  SAINT CHARLES, MO 63301                                            (Date File Stamp)

                                                        Associate Division Alias Summons
     The State of Missouri to              COMMERCE BANK
                                           Alias:
   1000 VALNUT ST
   KANSAS CIi'S', MO 64106

                                           You arc summoned to appear before this court on the date, time, and location above to answer the attached
         COURTSE,IL OF              petition. lfyou fail to do so,judgment by default will be taken against you for the reliefdemanded in the petition.
                                    You may be permitted to file certain responsive pleadings, pursuant to Chapter 517 RSMo. Should you have any
                                    questions regarding responsive pleadings in this case, you should consult an attorney.
                                         lfyou have a disability requiring special assistance for your court appearance, please contact the court at
                                     least 48 hours in advance ofscheduled hearing.
                                           3/22/2017                                                           /S/ Judy Zerr
   ST. CHARLES COUNTY                          Date                                                              Circuit Clerk
                                    Further Information:
                                                                   Sheriff's or Server's Return
     Note to serving officer: Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
                                 appear in court.
     I certify that I have served the above summons by: (check one)
          delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
     D    leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthe Defendant/Respondent with
                                                                   a person ofthe Defendant's/Respondent's family over the age of 15 years.
          (for service on a corporation) delivering a copy ofthe sumnons and a copy ofthe petition to
                        -__________________________________________________ (name)                                                                 (title).
     E: otlu
    Served at                                                                                                                                  (address)

    in                                                (County/City ofSt. Louis), MO, on                           (date)                               (time).


                     Printed Naine ofSheriffor Server                                                      Signature ofSheriffor Server
                                      Must be sworn before a notary public if not served by an authorized officer:
                                      Subscribed and sworn to before me on                                          (date).
            (Seal)
                                      My commission expires:
                                                                               Date                                              Public
     Sheriff's Fees
     Summons                           s
     Non Est
     Sherifi's Deputy Salary
     Supplemental Surcharge            $ _ 10.00
     Mileage                           s__________________ (_______ miles J 5.            per mile)
     Total                      s__________________
   A copy ofthe summons and a copy ofthe petition must be served on each Defendant/Respondent. For methods ofservice on all classes of suits,
   see Supreme Court Rule 54.




OSCA (7-09) SM22 (AASM) For Court use Only: Document         ID#1 7-AASM-422                           I                                         S I 7.04 1 RSMo
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STATE OF MISSOURI                               )
                                                )   SS.

ST. CHARLES COUNTY, MISSOURI                    )


             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI



           NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


        Pursuant to Missouri Supreme Court Rule 17, the Circuit Court of St. Charles County,
Missouri (Eleventh Judicial Circuit) has adopted a local rule to encourage voluntary alternative
dispute resolution. The purpose of the rule and the program it establishes is to foster timely,
economical, fair and voluntary settlements of lawsuits without delaying or interfering with a
party's right to resolve a lawsuit by trial.

         This program applies to all civil actions other than cases in the small claims, probate and
family court divisions of the Circuit Court, and you are hereby notified that it is available to you
in this case.

        The program encourages the voluntary early resolution of disputes through mediation.
Mediation is an informal non-binding alternative dispute resolution process in which a trained
mediator facilitates discussions and negotiations among the parties to help them resolve their
dispute. The mediator is impartial and has no authority to render a decision or impose a
resolution on the parties. During the course of the mediation, the mediator may meet with the
parties together and separately to discuss the dispute, to explore the parties' interests, and to
stimulate ideas for resolution of the dispute.

        A list of mediators approved by the court and information regarding their qualifications is
kept by the Circuit Clerk's Office. If all parties to the suit agree to mediation, within ten days
after they have filed the Consent to Mediation Form on the reverse side of this page with the
Clerk of the Court, they shall jointly select from that list a mediator who is willing and available
to serve. If the parties cannot agree upon the mediator to be selected, the Court will make the
selection.

        The full text of the Circuit Court's local court rules, including Rule 38 Alternative
Dispute Resolution, is available from the Clerk of the Circuit Court or at:
http://www.courts.mo.gov/hosted/circuitl 1/Documents/LOCAL COURT RULES.pdf

         A copy of this Notice is to be provided by the Clerk of the Circuit Court to each of the
parties initiating the suit at the time it is filed, and a copy is to be served on each other party in
the suit with the summons and petition served on that party.
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STATE OF MISSOURI                              )
                                               )   SS.

ST. CHARLES COUNTY, MISSOURI                   )


             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI


                              Plaintiff(s),

vs.                                                             Cause #


                               Defendant(s).


                             CONSENT TO MEDIATION FORM


         I, the undersigned counsel of record in this case, hereby certify that I have discussed the
subject of mediation under the Court's Alternative Dispute Resolution Program with my client(s)
in this case and that:

        We believe that mediation would be helpful in this case and consent to the referral of the
        case to mediation upon the filing of similar consents by all other parties in the case.

        We do not consent to the referral of this case to mediation.



                                                         Signature


                                                         (Print Name)

                                                         Attorney for:


                                                         (Party or Parties)

Date:
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                  IN THE CIRCUIT COURT OF SAINT CHARLES COUNTY
                                 STATE OF MISSOURI
                                ASSOCIATE DIVISION

JAMES STEWARD                                         )


                                                      )

               Plaintiff,                             )

V.                                                    ) Cause No.
                                                      )

COMMERCE BANK                                         ) Division
                                                      )

               Defendant.                             ) JURY TRIAL DEMANDED

                 REQUEST FOR APPOINTMENT OF PROCESS SERVER                                   -4



       COMES NOW, undersigned counsel, pursuant to Local Rules, and at his own risk

requests the appointment ofthe Circuit Clerk of:

                                              MICHAEL SIEGEL
                                         KANSAS CITY PROCESS SERVICE
                                                 P.O. BOX 717
                                            SMITHVILLE, MO 64089
                                              816-217-3329

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KANSAS CITY, MO 64106
                                                      PONTELLO & BRESSLER
                                                      ____(s/ Dominic M. Pontello
All Risks to Plaintiff                                Dominic M. Pontello, #60947
So Appointed:                                         Attorney for Plaintiff
                                                      406 Boones Lick Rd
Date: ALL RISKS TO PLAINTIFF                          St. Charles, MO 63301
      SO APPOINTED:                                   (636) 896-4170
By:   /5/ JUDY ZERR         12:47 pm. Mar 22, 2017
                                                      (636) 246-0141 facsimile
                                                                                  Electronically Filed - St Charles Circuit Div - April 27, 2017 - 12:02 PM
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